        Case 4:17-cv-05783-HSG Document 180 Filed 12/26/18 Page 1 of 3


 1   JOSEPH H. HUNT
     Assistant Attorney General
 2   ALEX G. TSE
     United States Attorney
 3   MICHELLE R. BENNETT
     Assistant Branch Director
 4   JUSTIN M. SANDBERG, IL. BAR NO. 6278377
     Senior Trial Counsel
 5   MICHAEL GERARDI
     CHRISTOPHER R. HEALY
 6   REBECCA M. KOPPLIN
     DANIEL RIESS
 7   Trial Attorneys
     United States Department of Justice
 8   Civil Division, Federal Programs Branch
     1100 L Street NW
 9   Washington, D.C. 20001
     Telephone: (202) 514-5838
10   Facsimile: (202) 616-8202
     Email: Justin.Sandberg@usdoj.gov
11   Counsel for Federal Defendants

12

13
                          IN THE UNITED STATES DISTRICT COURT
14
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
                                       OAKLAND DIVISION
16
     ______________________________________
17                                             )
     STATE OF CALIFORNIA, et al.,              )    Case No.: 4:17-cv-5783-HSG
18                                             )
                        Plaintiffs,            )
19                                             )       DEFENDANTS’ MOTION TO STAY
                  v.                           )       ALL PROCEEDINGS DUE TO LAPSE
20                                             )       IN APPROPRIATIONS OR IN THE
     ALEX M. AZAR, II, Secretary of            )       ALTERNATIVE FOR EXTENSION OF
21   Health and Human Services, et al.,        )       ANSWER DEADLINE
                                               )
22                      Defendants,            )
                                               )
23          and,                               )
                                               )
24   THE LITTLE SISTERS OF THE POOR,           )
     JEANNE JUGAN RESIDENCE, et al.,           )
25                                             )
                         Defendant-Intervenors )
26                                             )

27

28
                                                   1
                    MOTION FOR STAY OR IN ALTERNATIVE FOR EXTENSION OF ANSWER DEADLINE
                                           Case No.: 4:17-cv-5783
          Case 4:17-cv-05783-HSG Document 180 Filed 12/26/18 Page 2 of 3


 1
      The United States of America hereby moves for a stay of proceedings in the above-captioned case
 2
     or in the alternative for an extension of the deadline to respond to the second amended complaint.
 3
     1.      At the end of the day on December 21, 2018, the appropriations act that had been funding the
 4
     Department of Justice expired and appropriations to the Department lapsed. The Department does
 5
     not know when funding will be restored by Congress.
 6
     2.      Absent an appropriation, Department of Justice attorneys are prohibited from working, even
 7
     on a voluntary basis, except in very limited circumstances, including “emergencies involving the
 8
     safety of human life or the protection of property.” 31 U.S.C. § 1342.
 9
     3.      Undersigned counsel for the Department of Justice therefore requests a stay of proceedings
10
     until Congress has restored appropriations to the Department.
11
     4.      If this motion for a stay is granted, undersigned counsel will notify the Court as soon as
12
     Congress has appropriated funds for the Department. The Government requests that, at that point,
13
     all current deadlines for the parties be extended commensurate with the duration of the lapse in
14
     appropriations.
15
     5.      Opposing counsel state that they oppose the motion to stay the case. Counsel for intervenors
16
     did not have an opportunity to provide their position on the stay in the short time afforded for
17
     Government counsel to prepare and file the motion in light of the lapse of appropriations.
18
     6.      In the alternative, the Government seeks an extension of the deadline to answer or otherwise
19
     respond to the second amended complaint, from January 2, 2019 until February 28, 2019.
20
     7.      An extension is appropriate to enable the Government to account for the Court’s resolution
21
     of the pending preliminary injunction motion, and to account for the undersigned’s other work
22
     obligations, which at this point include a trial in early February as well as three significant briefs due
23
     in the first half of February.
24
     8.      Counsel for plaintiffs does not oppose the requested extension of the answer deadline.
25
     Counsel for the intervening defendants consent to the request.
26
             Therefore, although we greatly regret any disruption caused to the Court and the other
27
     litigants, the Government hereby moves for a stay of proceedings in this case until Department of
28
                                                         2
                        MOTION FOR STAY OR IN ALTERNATIVE FOR EXTENSION OF ANSWER DEADLINE
                                               Case No.: 4:17-cv-5783
        Case 4:17-cv-05783-HSG Document 180 Filed 12/26/18 Page 3 of 3


 1
     Justice attorneys are permitted to resume their usual civil litigation functions. In the alternative, the
 2
     Government seeks an extension of the deadline to answer or otherwise respond to the second
 3
     amended complaint, from January 2, 2019 until February 28, 2019.
 4

 5   Dated: December 26, 2018                               Respectfully submitted,

 6                                                          JOSEPH H. HUNT
                                                            Assistant Attorney General
 7
                                                            ALEX G. TSE
 8                                                          United States Attorney

 9                                                          MICHELLE R. BENNETT
                                                            Assistant Branch Director
10
                                                              /s/   Justin    M.     Sandberg
11                                                          JUSTIN M. SANDBERG, IL Bar No. 6278377
                                                            Senior Trial Counsel
12                                                          MICHAEL GERARDI
                                                            CHRISTOPHER R. HEALY
13                                                          REBECCA M. KOPPLIN
                                                            DANIEL RIESS
14                                                          Trial Attorneys
                                                            United States Department of Justice
15                                                          Civil Division, Federal Programs Branch
                                                            1100 L Street NW
16                                                          Washington, D.C. 20001
                                                            Telephone: (202) 514-5838
17                                                          Facsimile: (202) 616-8202
                                                            Email: Justin.Sandberg@usdoj.gov
18                                                          Counsel for Federal Defendants
19

20

21

22

23

24

25

26

27

28
                                                        3
                       MOTION FOR STAY OR IN ALTERNATIVE FOR EXTENSION OF ANSWER DEADLINE
                                              Case No.: 4:17-cv-5783
